                                                          Case 19-50102-gs     Doc 1363      Entered 10/24/19 16:43:27        Page 1 of 7

                                                                                                                              E-filed: October 24, 2019
                                                  1   Nathan G. Kanute (NV Bar No. 12413)
                                                      SNELL & WILMER L.L.P.
                                                  2   50 West Liberty Street, Suite 510
                                                      Reno, NV 89501
                                                  3   Telephone: (775) 785-5440
                                                      Facsimile: (775) 785-5441
                                                  4   Email: nkanute@swlaw.com
                                                  5   Donald L. Gaffney (admitted pro hac vice)
                                                      (AZ Bar No. 005717)
                                                  6   SNELL & WILMER L.L.P.
                                                      One Arizona Center, Suite 1900
                                                  7   400 East Van Buren Street
                                                      Phoenix, AZ 85004-2202
                                                  8   Telephone: (602) 382-6000
                                                      Facsimile: (602) 382-6070
                                                  9   Email: dgaffney@swlaw.com
                                                 10   Attorneys for Solarmore Management Services, Inc.

                                                 11                             UNITED STATES BANKRUPTCY COURT

                                                 12                                       DISTRICT OF NEVADA
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13
                                                      In Re:                                                 Case No. 19-50102-gs – LEAD CASE
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14
                                                      DOUBLE JUMP, INC.,                                     Chapter 7
                          L.L.P.




                                                 15
                                                      Affects:                                               Jointly administered
                                                 16    All Debtors
                                                       Double Jump, Inc. (19-50102-gs)
                                                 17    DC Solar Solutions, Inc. (19-50130-gs)               OBJECTION TO MOTION TO
                                                       DC Solar Distribution, Inc. (19-50131-gs)            QUASH NOTICE OF DEPOSITIONS
                                                 18    DC Solar Freedom, Inc. (19-50135-gs)                 AND/OR FOR PROTECTIVE
                                                                                                             ORDERS RE DEPOSITIONS OF JEFF
                                                 19                                  Debtors.                AND PAULETTE CARPOFF

                                                 20                                                          Hearing Date: October 25, 2019
                                                                                                             Hearing Time: 9:30 a.m.
                                                 21

                                                 22             Solarmore Management Services, Inc.1 (“Solarmore”), by and through its undersigned

                                                 23   counsel, hereby objects to the Motion to Quash Notice of Depositions and/or for Protective

                                                 24
                                                      1
                                                       Solarmore is the managing member of and acting on behalf of itself and Solar Eclipse Investment Fund
                                                 25   V, LLC; Solar Eclipse Investment Fund VI, LLC; Solar Eclipse Investment Fund VII, LLC; Solar Eclipse
                                                      Investment Fund VIII, LLC; Solar Eclipse Investment Fund X, LLC; Solar Eclipse Investment Fund XI,
                                                 26   LLC; Solar Eclipse Investment Fund XII, LLC; Solar Eclipse Investment Fund XIV, LLC; Solar Eclipse
                                                      Investment Fund XV, LLC; Solar Eclipse Investment Fund XVI, LLC; Solar Eclipse Investment Fund
                                                 27   XVII, LLC; Solar Eclipse Investment Fund XVIII, LLC; Solar Eclipse Investment Fund XIX, LLC; Solar
                                                      Eclipse Investment Fund XXI, LLC; Solar Eclipse Investment Fund XXII, LLC; Solar Eclipse Investment
                                                 28   Fund XXIII, LLC; Solar Eclipse Investment Fund XXIV, LLC; Solar Eclipse Investment Fund XXVI,


                                                      4820-4282-1290
                                                       Case 19-50102-gs         Doc 1363     Entered 10/24/19 16:43:27        Page 2 of 7



                                                  1   Orders re Depositions of Jeff and Paulette Carpoff [ECF No. 1336] (the “Motion”) filed by Jeff
                                                  2   and Paulette Carpoff (the “Carpoffs”).          This Objection is supported by the following
                                                  3   memorandum of points and authorities, the pleadings and filings on file in these cases, and any
                                                  4   arguments the Court will hear on this matter.
                                                  5                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                  6             To the extent the Motion argues that Solarmore is seeking to prevent the Carpoffs from
                                                  7   asserting or maintaining their Fifth Amendment privilege against self-incrimination, that is not
                                                  8   the case. Solarmore understands that the Carpoffs may choose to assert their Fifth Amendment
                                                  9   privilege to certain questions. Contrary to the Carpoffs’ assertion, though, there is not a right to
                                                 10   not be asked the questions. In fact, the case law says that an assertion of the Fifth Amendment
                                                 11   privilege must be made on a question by question basis. Accordingly, the attempt to wholly
                                                 12   avoid depositions in these contested matters is inappropriate.
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13             The Carpoffs have inserted themselves into these proceedings by filing: (1) Opposition to
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14   Trustee’s Motion for Order for Substantive Consolidation of the Chapter 7 Estates of Double
                          L.L.P.




                                                 15   Jump, Inc., DC Solar Solutions, Inc., DC Solar Distribution, Inc., and DC Solar Freedom, Inc.
                                                 16   [ECF No. 1162] (the Consolidation Opposition”); (2) Motion for Disclosure of Server and
                                                 17   QuickBooks Information to Comply with Tax Requirements and Locate Estate Assets [ECF No.
                                                 18   1158] (the “QuickBooks Motion”); and (3) Motion for Disclosure of Audit List of Mobile Solar
                                                 19   Generators to Assist in Locating Estate Assets [ECF No. 1160] (the “Audit Motion”). In each of
                                                 20   the foregoing, the Carpoffs have put forward factual assertions relating to the Debtors and their
                                                 21   business operations, the assets of the bankruptcy estates, the claims against the estates, the assets
                                                 22   of the Funds, and the need for certain information. The Carpoffs, however, ask this Court to
                                                 23   allow their Consolidation Opposition, QuickBooks Motion, and Audit Motion to go forward
                                                 24   untested. Solarmore, through the deposition notices, simply seeks to gain further information
                                                 25   regarding the foregoing from the Carpoffs. The Carpoffs should not be permitted to seek redress
                                                 26   from this Court without being subject to the Federal Rules of Bankruptcy Procedure.
                                                 27
                                                      LLC; Solar Eclipse Investment Fund XXVIII, LLC; and Solar Eclipse Investment Fund XXXI, LLC
                                                 28   (collectively, the “Funds”).
                                                                                                       -2-
                                                      4820-4282-1290
                                                       Case 19-50102-gs          Doc 1363     Entered 10/24/19 16:43:27        Page 3 of 7



                                                  1                                               ARGUMENT
                                                  2             1.     The Carpoffs Cannot Refuse to Attend the Deposition Based on their
                                                                       Potential Assertion of the Fifth Amendment Privilege.
                                                  3
                                                                The Motion, along with the letter from Carpoffs’ counsel, asks that the Carpoffs be
                                                  4
                                                      exempted from the Federal Rules of Bankruptcy Procedure.            The Carpoffs, without knowing
                                                  5
                                                      what questions Solarmore intends to ask, claim that they do not believe that there is a line of
                                                  6
                                                      questioning to which they would not assert their Fifth Amendment privilege. Therefore, they ask
                                                  7
                                                      this Court order that they not be required to attend the properly noticed depositions in these
                                                  8
                                                      contested matters. The Carpoffs, however, are “not exonerated from answering merely because
                                                  9
                                                      [they declare] that, in so doing [they] would incriminate [themselves] – [their] say-so does not
                                                 10
                                                      itself establish the hazard of incrimination.” Hoffman v. U.S., 341 U.S. 479, 486 (1951).
                                                 11
                                                                Instead, the case law has laid out a clear procedure for the Carpoffs to protect their Fifth
                                                 12
                                                      Amendment privilege. The privilege against self-incrimination cannot be asserted in a blanket
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13
                                                      manner and it cannot be asserted to avoid attending a deposition. The U.S. Supreme Court set out
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14
                                                      the road map in Hoffman, 341 U.S. at 486-87 when it stated that “[t]o sustain the privilege, it need
                          L.L.P.




                                                 15
                                                      only be evident from the implications of the question, in the setting in which it is asked, that a
                                                 16
                                                      responsive answer to the question or an explanation of why it cannot be answered might be
                                                 17
                                                      dangerous because injurious disclosure could result.” Emphasis added. It is clear from the
                                                 18
                                                      language used in Hoffman that the questions must be allowed to be asked before it can even be
                                                 19
                                                      understood whether the Fifth Amendment privilege applies.
                                                 20
                                                                Circuit Courts of Appeals, including the Ninth Circuit, District Courts, and Bankruptcy
                                                 21
                                                      Courts have agreed that a blanket assertion of the Fifth Amendment privilege and attempts to
                                                 22
                                                      block discovery through preemptive assertions of the Fifth Amendment privilege are improper.
                                                 23
                                                      See e.g., U.S. v. Pierce, 561 F.2d 735, 741 (9th Cir. 1977) (“A proper application of this standard
                                                 24
                                                      requires that the Fifth Amendment claim be raised in response to specific questions propounded
                                                 25
                                                      by the investigating body” and “a blanket refusal to answer any question is unacceptable.”);
                                                 26
                                                      Lyons v. Johnson, 415 F.2d 540, 542 (9th Cir. 1969) (“The scales of justice would hardly remain
                                                 27
                                                      equal, in these respects, if a party can assert a claim against another and then be able to block all
                                                 28

                                                                                                        -3-
                                                      4820-4282-1290
                                                       Case 19-50102-gs             Doc 1363      Entered 10/24/19 16:43:27         Page 4 of 7



                                                  1   discovery attempts against him by asserting a Fifth Amendment privilege to any interrogation
                                                  2   whatsoever upon his claim.”); Securities and Exchange Commission v. First Financial Group of
                                                  3   Texas, Inc., 659 F.2d 660, 668-69 (5th Cir. 1981) (stating that “a blanket invocation of the Fifth
                                                  4   Amendment privilege is insufficient to relieve a civil litigant of the responsibility to answer
                                                  5   questions put to him during the civil discovery process and to claim the privilege with respect to
                                                  6   each inquiry”); National Life Insurance Co. v. Hartford Accident and Indemnity Co., 615 F.2d
                                                  7   595, 598 (3rd Cir. 1980) (“a witness cannot relieve himself of the duty to answer questions that
                                                  8   may be put to him by a mere blanket invocation of the privilege”); U.S. v. Hansen, 233 F.R.D.
                                                  9   665, 668 (S.D. Cal. 2005) (granting a motion to compel a party to attend a deposition finding that
                                                 10   a deponent “cannot refuse to attend a deposition under a blanket claim of Fifth Amendment
                                                 11   privilege”); In re Hulon, 92 B.R. 670, 675 (Bankr. N.D. Tex. 1988) (noting, in a case where a
                                                 12   Debtor sought to assert her Fifth Amendment privilege in response to a 2004 examination, that,
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13   other than a criminal defendant’s right not to take the witness stand at a criminal trial, “the
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14   privilege does not permit a person to avoid being sworn as a witness or being asked questions”).
                          L.L.P.




                                                 15   Accordingly, the case law is clear that the Carpoffs must “attend the deposition, be sworn under
                                                 16   oath, and respond to those questions [they] can answer without running a risk of self-
                                                 17   incrimination.” Hansen, 233 F.R.D. at 668.
                                                 18             2.        The Carpoffs’ Filings have Placed Numerous Facts in Issue.
                                                 19             The Carpoffs’ Consolidation Opposition, QuickBooks Motion, and Audit Motion assert
                                                 20   factual allegations and raise additional issues that Solarmore must be permitted to test through
                                                 21   discovery. By way of example, the Carpoffs have asserted the following:
                                                 22             Consolidation Opposition:
                                                 23             -      “[T]he Debtors kept separate books and records and had different missions, goals and
                                                 24                    tasks and different assets and creditors unique to each of their functions.” At p. 7.
                                                 25             -      “Here the four Debtors were operated separately, with separate functions and separate
                                                 26                    accounting.” At p. 10.
                                                 27             -      “While the Carpoffs are not creditors of the Debtors, they desire to make the Investor
                                                 28                    LLCs and creditors of the Debtors whole.” At p. 11.

                                                                                                            -4-
                                                      4820-4282-1290
                                                       Case 19-50102-gs             Doc 1363      Entered 10/24/19 16:43:27         Page 5 of 7



                                                  1             -      “[The Carpoffs] also seek to use their own resources to assist the estate in locating all
                                                  2                    of the not yet located MSGs . . .” At p. 11.
                                                  3             -      “Similarly, [the Carpoffs] have filed a motion seeking a copy of the server and the
                                                  4                    financial books and records of the Debtors in order to determine whether there are
                                                  5                    assets in the hands of third parties that were not properly recorded because of the
                                                  6                    unavailability of documents or staff during the period after the searches or which
                                                  7                    should otherwise be in the estates of the individual Debtors. All of that can be
                                                  8                    accomplished without cost to the estate or placing the Carpoffs in legal jeopardy and
                                                  9                    permit the Court to make its determinations based upon evidence and not the opinions
                                                 10                    of Freeman or the probable cause assertions in the disputed forfeiture actions.” At
                                                 11                    pp. 11-12. Emphasis added.
                                                 12             QuickBooks Motion:
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13             -      “[The Carpoffs] are uniquely situated to assist the Trustee in locating estate assets,
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14                    which the Trustee contends cannot be found. Disclosure of the records on the Server
                          L.L.P.




                                                 15                    will assist the Carpoffs, their counsel, and investigators in locating those assets,
                                                 16                    particularly in transactions that were in progress but had not been fully documented at
                                                 17                    the time of the seizure of the Server by the government.” At pp. 2-3.
                                                 18             -      “[H]aving a mirror image of the Server will enable [the Carpoffs] to reconstruct
                                                 19                    emails, receipts, purchase orders, and other critical information for locating the MSGs
                                                 20                    and raw materials inventory that the Trustee alleges are ‘missing.’” At p. 7.
                                                 21             -      “Mr. Carpoff is the person most likely to be able, through his counsel, to assist in
                                                 22                    locating the MSGs and inventory, but he cannot be expected to do so purely from
                                                 23                    memory.” At p. 7.
                                                 24             Audit Motion
                                                 25             -      “[T]he fact that on a limited budget, without personal knowledge of the deployment
                                                 26                    and redeployment of the units and in a very limited timeframe GA Global was unable
                                                 27                    to locate all of the units does not mean that they don’t exist.” At p. 2.
                                                 28             -      “The Carpoffs have requested a copy of the Audit List from the Trustee for the

                                                                                                            -5-
                                                      4820-4282-1290
                                                          Case 19-50102-gs          Doc 1363     Entered 10/24/19 16:43:27         Page 6 of 7



                                                  1                    purpose of assisting the estate and the investor groups in locating and recovering the
                                                  2                    remaining MSGs.” At p. 2.
                                                  3             -      “By their very nature, the MSGs were deployed in many varying ways, by themselves
                                                  4                    or in numbers, to one user who deployed them in various locations in a geographic
                                                  5                    location or scattered across working locations as needed.” At p. 4.
                                                  6             -      “There are thousands of unlocated MSGs in existence at various locations.” At p. 6.
                                                  7   All of the foregoing are areas that are ripe for further inquiry. By specifically authorizing these
                                                  8   statements to be made, the Carpoffs have opened the door to Solarmore’s use of applicable
                                                  9   discovery rules to inquire further on these topics. The Carpoffs cannot be permitted to continue
                                                 10   prosecuting their Consolidation Objection, Server Motion, and Audit Motion while refusing to
                                                 11   appear for depositions.2
                                                 12             Additionally, since the Carpoffs have filed their Consolidation Objection, Solarmore
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13   should be able to question the Carpoffs regarding the various matters that will be relevant to the
                  Reno, Nevada 89501
                     LAW OFFICES

                      775-785-5440




                                                 14   Court’s substantive consolidation decision. As the Court is aware, a number of factors must be
                          L.L.P.




                                                 15   looked at when assessing substantive consolidation. Solarmore will need to have a better picture
                                                 16   of, among other things, the assets and claims against these estates, the intercompany obligations,
                                                 17   the corporate formalities, how the entities interacted with investors and creditors, etc. As the
                                                 18   Carpoffs have said, they would be uniquely positioned to provide that information. Given the
                                                 19   Carpoffs’ insinuation that the Trustee and former CRO do not have the full story on the Debtors’
                                                 20   operations and finances, it would comport with the Carpoffs’ stated intent of helping the investors
                                                 21   and creditors to provide that information.
                                                 22   ///
                                                 23   ///
                                                 24   ///
                                                 25   ///
                                                 26
                                                      2
                                                        Counsel for Solarmore has asked counsel for the Carpoffs on multiple occasions whether the
                                                 27   Consolidation Opposition, Server Motion, and Audit Motion were being withdrawn in light of the
                                                      Carpoffs’ desire not to participate in depositions. The response back each time is that the Carpoffs’ filings
                                                 28   would not be withdrawn.
                                                                                                           -6-
                                                      4820-4282-1290
                                                       Case 19-50102-gs         Doc 1363     Entered 10/24/19 16:43:27       Page 7 of 7



                                                  1                                             CONCLUSION
                                                  2             Based on the arguments set forth above, Solarmore requests that the Motion be denied and
                                                  3   that the Carpoffs be required to comply with the properly noticed depositions currently set to
                                                  4   begin on November 6, 2019 at 9:30 a.m.
                                                  5             DATED this 24th day of October 2019.
                                                  6                                                   SNELL & WILMER L.L.P.
                                                  7
                                                                                                By:          /s/ Nathan G. Kanute
                                                  8                                                   Nathan G. Kanute (NV Bar No. 12413)
                                                                                                      50 West Liberty Street, Suite 510
                                                  9                                                   Reno, NV 89501
                                                                                                      Telephone: (775) 785-5440
                                                 10                                                   Facsimile: (775) 785-5441
                                                 11                                                   Donald L. Gaffney (admitted pro hac vice)
                                                                                                      (AZ Bar No.005717)
                                                 12                                                   One Arizona Center, Suite 1900
                                                                                                      400 East Van Buren Street
             50 West Liberty Street, Suite 510
Snell & Wilmer




                                                 13                                                   Phoenix, AZ 85004-2202
                  Reno, Nevada 89501




                                                                                                      Telephone: (602) 382-6000
                     LAW OFFICES

                      775-785-5440




                                                 14                                                   Facsimile: (602) 382-6070
                          L.L.P.




                                                                                                      Attorneys for Solarmore Management Services, Inc.
                                                 15

                                                 16

                                                 17

                                                 18

                                                 19

                                                 20

                                                 21

                                                 22

                                                 23

                                                 24

                                                 25

                                                 26

                                                 27

                                                 28

                                                                                                        -7-
                                                      4820-4282-1290
